           Case 4:19-cv-04073-JST Document 65-1 Filed 08/29/19 Page 1 of 2


From:
To:                  McHenry, James (EOIR); Owen, Sirce E. (EOIR); Gupta, Dimple (EOIR); Alder Reid, Lauren (EOIR); Neal, David
                     L. (EOIR); Adkins-Blanch, Chuck (EOIR); Santoro, Christopher A (EOIR); Maggard, Print (EOIR); Cheng, Mary
                     (EOIR)
Cc:
Subject:             RE: Ninth Circuit Stay Order - Asylum Transit Interim Final Rule Litigation
Date:                Tuesday, August 20, 2019 9:17:00 AM


Good morning,




The rule should not be applied to any asylum determination in which: (1) the alien was apprehended
in the Ninth Circuit, (2) the alien is detained in the Ninth Circuit, or (3) the interview or adjudication
itself occurs in the Ninth Circuit.

OCIJ – please ensure that this guidance is distributed ASAP today.




Please let me know if you have any questions or concerns.

Best regards,




                                         
                                                      
                                                 
                                    


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From:
Sent: Friday, August 16, 2019 3:43 PM
To: McHenry, James (EOIR)                                                               ; Owen, Sirce E. (EOIR)
                                 ; Gupta, Dimple (EOIR)                                                               ; Alder
Reid, Lauren (EOIR)                                                            ; Neal, David L. (EOIR)
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